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                    IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND


    DEBORAH LAUFER,
                                                    Case No.: 1:20-cv-2136
                  Plaintiff,
    v.

    NARANDA HOTELS, LLC,

              Defendant.
    ____________________________________


November 23, 2020


Dear Judge Gallagher:

On behalf of Ms. Laufer, we respectfully request that the motion to dismiss hearing be
continued from next week to any time/ date thereafter. Ms. Laufer will be on holiday with
her family next week and she has asked that we defer the hearing to the following week so
that she can participate.

Respectfully submitted,
/s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.


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